654 F.2d 569
    WEYERHAEUSER COMPANY, a Washington Corporation, Plaintiff-Appellee,v.COMBUSTION EQUIPMENT ASSOCIATES, INC., a New YorkCorporation, and Combustion Corporation, aCalifornia Corporation, Defendants-Appellants,Williams Patent Crusher and Pulverizer Co., Inc., a MissouriCorporation, Third-Party-Defendant.
    No. 79-4339.
    United States Court of Appeals,Ninth Circuit.
    Argued and Submitted May 14, 1981.Decided Aug. 24, 1981.
    
      Daniel Knox, Schwabe, Williamson, Wyatt, Moore &amp; Roberts, Portland, Or., for defendants-appellees.
      George H. Fraser, Portland, Or., argued, for plaintiff-appellee; Peter Jarvis, Stoel, Rives, Boley, Fraser &amp; Wyse, Portland, Or., on brief.
      Appeal from the United States District Court for the District of Oregon.
      Before GOODWIN, FARRIS and CANBY, Circuit Judges.
      PER CURIAM.
    
    
      1
      Combustion Equipment Associates appeals an adverse judgment in Weyerhaeuser's action for damages for breach of contract.  Combustion Equipment agreed to design, install and start up a high performance steam plant that would burn sawmill waste.  The installation was unsatisfactory.  Weyerhaeuser claimed damages arising from costs and delays directly resulting from Combustion Equipment's failure to perform the contract.
    
    
      2
      The trial judge, sitting without a jury, and dealing largely with documentary evidence and narrative statements of what the witnesses would have testified if they had appeared in person, made exhaustive and comprehensive findings of fact which fully satisfy the standard of review under Fed.R.Civ.P. 52.  The credibility of those witnesses who appeared as well as those whose testimony was produced in documentary form was a matter for the trial judge to decide.  Accordingly, the judgment is affirmed.
    
    